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 6                              UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                      ) 2:13-CR-355-GMN-(CWH)
                                                     )
 9                          Plaintiff,               )
                                                     )
10           v.                                      ) Amended Preliminary Order of Forfeiture
                                                     )
11    CHRISTINE M. GAGNON,                           )
        a.k.a. Lisa Foster,                          )
12      a.k.a. Crystal Waters,                       )
                                                     )
13                          Defendant.               )
                                                     )
14

15          This Court finds that defendant Christine M. Gagnon, a.k.a. Lisa Foster, a.k.a. Crystal

16 Waters, pled guilty to Count One of a Thirty-Two Count Criminal Indictment charging her with

17 Conspiracy to Commit Wire Fraud in Connection with Telemarketing in violation of Title 18,

18 United States Code, Sections 1343 and 1349. Criminal Indictment, ECF No.1; Change of Plea,

19 ECF No. 147; Amended Plea Agreement, ECF No. 348.

20          This Court finds defendant Christine M. Gagnon, a.k.a. Lisa Foster, a.k.a. Crystal Waters,

21 agreed to the imposition of the in personam criminal forfeiture money judgment of $1,684,462

22 set forth in the Plea Agreement and the Forfeiture Allegations of the Criminal Indictment and in

23 compliance with Honeycutt v. United States, ___U.S.___, 137 S. Ct. 1626 (2017). Criminal

24 Indictment, ECF No. 1; Change of Plea, ECF No. 147; Amended Plea Agreement, ECF No. 348.

25          The in personam criminal forfeiture money judgment is (1) any property, real or personal,

26 which constitutes or is derived from proceeds traceable to violations of Title 18, United States
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 1 Code, Section 1343, a specified unlawful activity as defined in Title 18, United States Code,

 2 Sections 1956(c)(7)(A) and 1961(1)(B), or Title 18, United States Code, Section 1349,

 3 conspiracy to commit such offense and (2) any real or personal property constituting, derived

 4 from, or traceable to the gross proceeds obtained directly or indirectly as a result of violations of

 5 Title 18, United States Code, Section 1343, or of Title 18, United States Code, Section 1349,

 6 conspiracy to commit such offense, and is subject to forfeiture pursuant to Title 18, United States

 7 Code, Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United

 8 States Code, Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p).

 9          This Court finds that Christine M. Gagnon, a.k.a. Lisa Foster, a.k.a. Crystal Waters, shall

10 pay an in personam criminal forfeiture money judgment of $1,684,462 to the United States of

11 America, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

12 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United States Code,

13 Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p).

14          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

15 United States recover from Christine M. Gagnon, a.k.a. Lisa Foster, a.k.a. Crystal Waters, an in

16 personam criminal forfeiture money judgment of $1,684,462.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

18 of this Order to all counsel of record and three certified copies to the United States Attorney’s

19 Office, Attention Asset Forfeiture Unit.

20          DATED this _____
                        17 day of November, 2017.

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23                                                 UNITED STATES DISTRICT JUDGE
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